    Case 2:09-cv-03256-LMA-KWR Document 36 Filed 12/07/09 Page 1 of 1




                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

JOEWEALTH MATIAS                             *       CIVIL ACTION

VERSUS                                       *       NO.: 09-3256

TAYLORS INTERNATIONAL                        *       SECTION:       I
SERVICES, INC.,
                                             *       MAGISTRATE: 4

*         *      *      *      *       *     *       IN ADMIRALTY/RULE 9(H)

                                           ORDER

          Considering the foregoing:

          IT IS ORDERED that the plaintiff’s Motion for Partial Voluntary Dismissal is

hereby GRANTED. Plaintiff’s claims against Mainfreight Limited are hereby dismissed,

with prejudice, reserving unto the plaintiff any and all claims against the remaining defendants

herein.        Hello This is a Test
                                                       December
                                     4th day of ________________________, 2009.
       New Orleans, Louisiana, this ____



                               ____________________________________
                               UNITED STATES DISTRICT JUDGE
